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     Attorney at Law - SBN 65211
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 3   Telephone: (916) 443-0217

 4   Attorney for Defendant
     Tommy Williams
 5

 6                        UNITED STATES DISTRICT COURT
 7                       EASTERN DISTRICT OF CALIFORNIA

 8
     UNITED STATES OF AMERICA         )         No. Cr.S-05-100   GEB
 9                                    )
                      Plaintiff       )         AMENDED
10                                    )         STIPULATTION AND ORDER
               v.                     )         (PROPOSED) FOR CONTINUING
                                      )         SENTENCING
11   TOMMY WILLIAMS                   )
                                      )         Date:     June 8, 2007
12                    Defendant       )         Time:     9:00 AM
                                      )         Court:    GEB
13

14
          IT IS HEREBY STIPULATED AND AGREED by the parties through
15
     their respective attorneys that the above referenced matter be
16
     rescheduled for June 8, 2007 at 9:00 AM for sentencing.
17

18        This stipulation and agreement is entered into for the

19   following reasons: By stipulation the date to be scheduled for

20   sentencing had been set for June 1, 2007. Due to an oversight,

21   undersigned counsel will be unavailable on June 1, 2007 and so

22   has requested the date for sentencing be rescheduled to June 8,
23   2007 at 9:00 AM.
24        Undersigned counsel regrets any inconvenience his oversight
25
     may have caused.



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 1        Assistant United States Attorney Ken Melikian has stated no

 2   object to the above request.
 3

 4

 5
          IT IS SO STIPULATED
 6

 7

 8        Dated: April 17, 2007                 /S/ MICHAEL B. BIGELOW
                                                Michael B. Bigelow
 9                                              Attorney for Defendant

10

11

12        Dated: April 17, 2007                 /S/KEN MELIKIAN
                                                Ken Melikian, AUSA
13

14
     IT IS SO ORDERED
15

16   Dated:    May 24, 2007
                                        GARLAND E. BURRELL, JR.
17                                      United States District Judge

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